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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION

LIBERTY MUTUAL GROUP INC                           CIVIL ACTION NO. 20-cv-967

VERSUS                                             JUDGE DONALD E. WALTER

LINUS MAYES                                        MAGISTRATE JUDGE HAYES


                                         ORDER

        The Report and Recommendation of the Magistrate Judge having been considered,

 no objections thereto having been filed, and finding that same is supported by the law and

 the record in this matter,

        IT IS ORDERED that defendants’ Rule 12(b)(1) motion to dismiss for lack of

 subject matter jurisdiction (Record Document 7) is DENIED.

        THUS DONE AND SIGNED at Shreveport, Louisiana, this the 2nd day of

 October, 2020.
